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                          UNITED STATES DISTRICT COURT
                         CENTRAL DISTRICT OF CALIFORNIA

                             CIVIL MINUTES – GENERAL

 Case No. 8:21-cv-01792-JLS-KES                                          Date: May 31, 2024
 Title: Christopher Wallis v. Plutos Sama Holdings, Inc., et al.

  Present: Honorable JOSEPHINE L. STATON, UNITED STATES DISTRICT JUDGE

               Charles A. Rojas                                         N/A
               Deputy Clerk                                        Court Reporter

        Attorneys Present for Plaintiffs:                Attorneys Present for Defendant:

               Not Present                                          Not Present

 PROCEEDINGS: (IN CHAMBERS) ORDER TO SHOW CAUSE RE
              SANCTIONS AND ORDER STRIKING UNILATERAL RULE
              26(f) REPORT (Doc. 104)

        On May 28, 2024, Plaintiff’s Counsel, Andrew Phan, filed a unilateral Rule 26(f)
 Report. (See Report, Doc. 104.) That report represented that “Plaintiff exchanged the
 proposed Rule 26(f) Joint Report with counsel for Defendant. To date, Plaintiff’s counsel
 has yet to receive Defendant’s information, if any.” (Id. at 1.) This representation made
 it appear as though Defendant’s Counsel, Jesse Gessin, had failed to follow the Court’s
 meet and confer requirements and refused to participate in the cooperative process of
 drafting a Joint Rule 26(f) Report, as this Court requires. (See Order Setting Scheduling
 Conference, Doc. 83.) Gessin then filed a declaration, explaining that it was actually
 Phan who had failed to comply with the Court’s orders. Phan did not meet and confer
 with Gessin 21 days before the Scheduling Conference, as required, and instead ignored
 an email from Gessin about that meet and confer requirement. (See Gessin Decl. ¶ 2,
 Doc. 105-1; Ex. A to Gessin Decl., Doc. 105-2.) Then, on the date the Joint Rule 26(f)
 Report was due, 14 days before the Scheduling Conference, Phan emailed a draft report
 to Gessin and, without awaiting reply, unilaterally filed the Report a few hours later.
 (Gessin Decl. ¶ 4; Ex. B to Gessin Decl., Doc. 105-3.)


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         Phan’s conduct is in clear violation of the Court’s orders regarding Rule 26(f)
 Reports. Worse, Phan’s statements to the Court were a clear misrepresentation of the
 situation, making it seem as though it was Gessin who was unresponsive and
 uncooperative. Phan is, therefore, ORDERED TO SHOW CAUSE as to why he should
 not be sanctioned for violating the Court’s orders and Federal Rule of Civil Procedure 11.
 Phan shall respond, in writing, no later than five (5) days from the issuance of this Order.
 Phan’s response shall not exceed four pages.

        Additionally, the unilateral Rule 26(f) Report filed by Plaintiff (Doc. 104) is
 STRICKEN. The Scheduling Conference is CONTINUED to June 28, 2024. The parties
 shall comply meet and confer regarding the Joint Rule 26(f) Report no later than June 7,
 2024, and shall file a Joint Report no later than June 14, 2024. If Plaintiff’s Counsel fails
 to comply with the Court’s procedures for Joint Rule 26(f) Reports again, it will be
 grounds for immediate dismissal of the action.

                                                                   Initials of Deputy Clerk: cr




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